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UNITED STATES DISTRICT COURT
SOUTHERN DISTRICT OF NEW YORK
HANNIBAL WHEATLEY, on behalf of himself and all
others similarly situated,
                        Plaintiffs,                        Case No. 1:24-cv-07312
                v.
                                                           NOTICE OF DISMISSAL UNDER
THE NEXT CHAPTER NY LLC                                    RULE 41(a)(1)(A)(i), Fed.R.Civ.P.
D/B/A TREEHOUSE,
                     Defendant.


       IT IS HEREBY AGREED that Plaintiff, Hannibal Wheatley (“Plaintiff”) by and through
undersigned counsel, under Rule 41(a)(1) (A) (i) of the Federal Rules of Civil Procedure, that this
action be and hereby is voluntarily and finally dismissed with prejudice, and without costs or
attorneys’ fees.

Dated: February 28, 2025


                                                  JOSEPH & NORINSBERG, LLC


                                                 By:
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